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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                              ENTERED
                                                                                             03/20/2019
IN RE:                                          §
SYNERGY LAW LLC                                 §      MISC CASE NO: 19-302
                                                §

                          ORDER ON MOTION TO WITHDRAW

         Not later than April 3, 2019, Synergy may designate new counsel in this case. If Synergy
fails to timely designate new counsel, Mr. Parker must contact Ms. Do and obtain an emergency
hearing date on his motion to withdraw.

       The Court orders that either the principal owner or principal executive officer of Synergy
personally appear at any hearing on Mr. Parker’s motion to withdraw as counsel. If the principal
owner or principal executive officer of Synergy fails to appear, the Court may reset the final
hearing date on this matter to mid-April, 2019.

       SIGNED March 20, 2019.


                                                ___________________________________
                                                           Marvin Isgur
                                                UNITED STATES BANKRUPTCY JUDGE




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